                           No. 23-1494

                             IN THE
United States Court of Appeals for the Federal Circuit
                           APPLE INC.,
                                                Appellant,
                               v.
             GESTURE TECHNOLOGY PARTNERS, LLC
                                           Appellee.

     On Appeal from the United States Patent & Trademark
    Office, Patent Trial & Appeal Board, Nos. IPR2021-00923,
                 IPR2022-00093, IPR2022-00361

              REPLY BRIEF OF APPELLANT
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                            INTRODUCTION

      Apple’s petition for inter partes review showed that the ’924

patent is invalid as obvious. A skilled artisan would be motivated to

combine the Numazaki reference, which discloses all of the claimed,

camera-based gesture-sensing functionality, with the Mann reference,

which discloses the two-camera, handheld form factor to which the

claimed functionality can be applied. The Board, however, did not even

reach the merits of Apple’s straightforward obviousness combination.

Instead, it rejected Apple’s petition on analogous art grounds,

concluding that, because Mann did not already include the claimed

functionality, it could not qualify as prior art.

      Gesture Technology’s response brief repeats the Board’s error. It

repeatedly emphasizes that the ’924 patent specifically describes

controlling computers with human gesture by using cameras—as if that

fact is determinative of the analogous art issue and definitively settles

the correctness of the Board’s approach. But Apple fully acknowledged

that the ’924 patent’s supposedly novel way of using human gesture to

control computers involved camera-based sensing. The problem, as

Apple explained, is that the scope of analogous art should not be limited


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to the patent’s “specific point of novelty” over prior art. The Board did

exactly that when it limited the field of endeavor to art that already

used the camera-based gesture-sensing technique, rather than adopting

a broader field covering camera systems that may be controlled by

human gesture input. Gesture Technology offers no justification for

this narrow approach. The Board’s refusal to consider Mann’s

teachings should be reversed and the case should be remanded for the

Board to consider the merits of Apple’s obviousness grounds.

     Independently, the Board’s failure to give Apple notice and an

opportunity to respond to its new definition of the patent’s field of

endeavor violates the Administrative Procedure Act (APA) and

separately requires a remand. Gesture Technology insists that Apple

had ample opportunity to explain its position on analogous art, but fails

to identify any argument regarding the field of endeavor for the ’924

patent that might put Apple on notice of a dispute. And while Gesture

Technology suggests that the Board did not create a new field of

endeavor but rather adopted a field of endeavor Apple itself proposed,

this position wrongly treats Apple’s articulations of the field as if they

were mutually exclusive options rather than complementary


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descriptions of a broad field and a specific point within it. Remand is

also required on APA grounds.

                              ARGUMENT

I.   The Board’s Finding That Mann Is Non-Analogous Art Is
     Unsupported By Substantial Evidence

     Apple’s opening brief explained that the key focus of the ’924

patent is controlling computers using human gestures as input. See

OB26-30. The citations Apple provided to the Board reflect this focus,

OB33-34, as does the patent’s broader goal of using camera-based

sensing to replace other, non-camera-based forms of gestural input,

OB28. Accordingly, substantial evidence supports Apple’s proposed

field of endeavor for the patent: “camera system[s] that may be

controlled by human gesture input.” OB27 (quoting Appx106;

Appx359).

     In defending the Board’s rejection of Apple’s proposed field,

Gesture Technology myopically focuses on the fact that the ’924 patent’s

purported improvement over the prior art is using cameras to achieve

gesture-based control of a computer. See RB13. Gesture Technology

posits that those more specific disclosures of camera-based sensing

somehow negate the patent’s broader focus on human gesture input,

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such that all of Apple’s citations to the patent exclusively support the

Board’s proposed field of endeavor and do not support Apple’s. RB13-

14, 16-17; see also RB16 (arguing that the Board was correct to find that

none of Apple’s citations support Apple’s proposed field).

     But Gesture Technology fails to offer any rationale for why, when

a patent focuses on two things—one a subset of the other—the field of

endeavor should be limited to the narrower category. Under this

Court’s precedent, the opposite approach should prevail.

     A.    Because the ’924 patent indisputably focuses on using
           human gesture as input, there was no valid basis for
           rejecting Apple’s proposed field.

     1. As Apple’s opening brief explained (at OB26-30), the ’924

patent’s disclosure, including the claimed embodiment and stated “Field

of Invention,” reflects a broad focus on controlling computers using

human gestures as input. The “Field of the Invention” describes using

camera images of “human positions or orientations” (i.e., gestures) as an

“input … for computers.” Appx45 2:7-19. The claimed embodiment

“obtain[s] images” of “one[’]s gestures” so that the gestures can be used

to control computers—for instance by capturing images of “a pencil or

pen” in the user’s hand, “rather than having a special touch screen and


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pencil.” Appx57 25:50-63. And other embodiments describe one-to-one

replacement of existing, non-image-based forms of gestural computer

input (say, a “conventional … touch screen”) with camera-based

substitutes (like a system that uses cameras to track “pointing at a

board with a finger”). Appx55 21:33-49.

     Given this consistent focus on using human gestures to control

computers, Apple correctly identified the ’924 patent’s field of endeavor

as “camera system[s] that may be controlled by human gesture

input.” E.g., Appx106; Appx359. That field properly includes, not just

the camera-based control “embodiments” of the claimed invention, but

also the invention’s overall “structure and function” and the “common

sense likely to be exerted” by a skilled artisan in looking for relevant

art. In re Bigio, 381 F.3d 1320, 1325-26 (Fed. Cir. 2004); infra __

(explaining that the ’924 inventor looked to non-camera-based forms of

gesture input for applications of the camera-based functionality).

     Gesture Technology insists that the field of endeavor should be

limited to the camera-based sensing technique and exclude computers

that have other ways of capturing human gestures. But as Apple

explained (at OB27), a patent’s field of endeavor may not be “limited to


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the specific point of novelty, the narrowest possible conception of the

field, or the particular focus within a given field.” Unwired Planet, LLC

v. Google Inc., 841 F.3d 995, 1001 (Fed. Cir. 2016). This is because

analogousness is merely a threshold test to see whether a reference

should be considered as part of the obviousness analysis; it is not

supposed to subsume the obviousness inquiry altogether. Netflix, Inc. v.

DivX, LLC, 80 F.4th 1352, 1359 (Fed. Cir. 2023) (citing Jeffrey T.

Burgess, The Analogous Art Test, 7 Buff. Intell. Prop. L.J. 63, 72

(2009)). Accordingly, this Court has endorsed “an expansive view of

what constitutes analogous art.” Id. (quoting Lance Leonard Barry,

Cézanne and Renoir: Analogous Art in Patent Law, 13 Tex. Intell. Prop.

L.J. 243, 247 (2005)).

     In cases like this, where the patent describes multiple things, or

when its focus can be described at varying levels of generality, the

principle that analogous art should not be limited to the patent’s

“specific point of novelty,” Unwired Planet, 841 F.3d at 1001, means

that a broader conception of the field of endeavor is appropriate. Here,

that means the ’924 patent’s specific focus on using human gesture

sensed by cameras to control computers, does nothing to negate the


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broader disclosure of using human gesture to control computers. A field

of endeavor should encompass the patent’s full disclosure. See id. The

’924 patent therefore supports Apple’s proposed field. See OB26-30.

     According to Gesture Technology, Unwired Planet’s ban on

limiting the field to the “‘specific point of novelty’” is inapposite because

the Board’s field does not require analogous art to include every claim

element: camera-based control and the “handheld computing device”

and the “specific arrangement of cameras.” RB14-15; RB18. Put

differently, Gesture Technology equates Unwired Planet’s phrase

“specific point of novelty” with anticipatory references that include the

entire, supposedly novel combination of limitations. And Gesture

Technology argues that a field of endeavor is sufficiently broad under

Unwired Planet so long as it is not limited to anticipatory art. But no

court has read Unwired Planet so narrowly, and the Court’s opinion

makes clear that Unwired Planet was making a broader point: that that

field of endeavor should not be limited to specific aspects of a patent’s

disclosure, but rather should include its full scope. See Unwired Planet,

841 F.3d at 1001. Indeed, the Court explained that a patent’s field of

endeavor is not limited to its “particular focus within a given field.” Id.


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     Gesture Technology’s narrow reading is also belied by the facts of

Unwired Planet itself. In Unwired Planet, the Court assessed the field

of endeavor for a patent disclosing a system for providing location-based

search results on cell phones. Id. It concluded that the field was not

limited to art addressing “mobile telephony or location-based services,”

but also included art relevant to the general field of graphical user

interfaces and the patent’s broader goal of prioritizing information in a

useful way. Id. at 1000-01. The holding in Unwired Planet could not

have been motivated by a concern that only anticipatory references

could qualify as prior art, as Gesture Technology suggests, because even

the narrowest proposed field of endeavor was much broader than the

claims. Rather, the Court was relying on the principle as Apple

described it: that the field of endeavor should encompass all topics

within the patent’s disclosure, regardless of whether the patent had a

specific “area[] of focus … within the broader field.” Id. at 1001; OB33.

     To the extent Gesture Technology is instead arguing that Unwired

Planet is inapposite because the ’924 patent’s “‘specific point of novelty’”

is something other than the camera-based sensing functionality, that

argument also fails. See RB14-15 (stating that Unwired Planet does not


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apply because the Board’s field does not include the “handheld

computing device” or the “specific arrangement of cameras”). As

Gesture Technology itself recognizes, the ’924 patent clearly purports to

be inventing a camera-based control technique. See RB13-14 (citing

Appx45 2:7-19). It does not purport to invent anything about handheld

devices with a particular arrangement of cameras. Rather, it describes

adding camera-based control functionality to existing hardware. See

OB34-35. Thus, it makes no sense to identify the claimed physical

components as the patent’s sole “point of novelty” over prior art. In any

case, Unwired Planet also bars limiting the field of endeavor to “the

narrowest possible conception of the field, or the particular focus within

a given field.” 841 F.3d at 1001. So, even if camera-based sensing is

not the “specific point of novelty,” it is still an improperly narrow field

given the patent’s focus on adding camera-based sensing to existing

devices and contexts.

     2. Gesture Technology next argues that the Board correctly

rejected Apple’s proposed field of endeavor because Apple articulated

supposedly “competing” fields with respect to different references. See

RB16. (“Petitioner had no valid basis to assert a separate field of


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endeavor for Mann.”). But Gesture Technology fails to explain what

about Apple’s different articulations of the field is contradictory, rather

than complementary. As Apple’s opening brief explained (at OB30-31),

the fields identified for Aviv and Amir, which require control using

“‘captured image information,’” are a subset of the broader fields

identified for Mann and Numazaki, which require control using “human

gesture input.” See OB32. Apple’s briefing to the Board highlighted

that all the references are within the broader field by noting that Aviv

and Amir use captured image information about human gesture. OB32

(citing Appx154; Appx143). Gesture Technology does not dispute that

the “captured image information” field is a subset of Apple’s broader,

“human gesture input” proposal. See RB16. In the same way that

describing a pet as a “Goldendoodle” does not undercut a claim that it is

a dog, nothing about Apple’s articulation of a more specific subfield

suggests that the broader field Apple articulated is incorrect.

     In arguing otherwise, Gesture Technology seems to be operating

from an unstated assumption that every patent can be assigned only a

single, immutable field of endeavor, and that all different articulations

of the field are mutually exclusive. See RB16; see also RB24. The


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Board seemed to be under the same impression when it faulted Apple

for not explaining “why it is appropriate to have different fields of

endeavor [for] the same disclosure.” Appx13. But neither Gesture

Technology nor the Board offers any authority for that premise, and

without it, their position falls apart.

      As Apple explained (at OB32, 38), this Court’s precedent makes

clear that a patent’s field of endeavor can be described in varied ways,

and may be properly framed as a broad field encompassing many

narrower “specific field[s].” See Bigio, 381 F.3d at 1325-26. In Netflix,

Inc., this Court even recognized that a single patent can be within

multiple fields of endeavor. 80 F.4th at 1361. The Court endorsed

Netflix’s decision to propose two alternative fields of endeavor, observed

that the Board had also described multiple potential fields, and

acknowledged the possibility that the patent may be within either or

both of them. Id. (remanding for determination of whether the

reference and the patent are directed to Netflix’s first “and/or” second

proposed fields of endeavor).

      Because a patent’s field of endeavor is not a single, rigidly defined,

immutable category, there is no basis for Gesture Technology’s


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insinuation that different articulations of the field are necessarily

contradictory, or that there was something otherwise improper about

Apple’s approach. A field of endeavor can properly encompass multiple

categories, or multiple points within a broader field. See Netflix, 80

F.4th at 1361.

     3. Gesture Technology also insists that Apple is raising a new

argument on appeal. RB15. Specifically, it claims that Apple

previously argued that the patent’s field is “portable camera system[s]

that may be controlled by human gesture input,” and is now arguing for

a field focused on “using human gestures to control computers.” RB15

(quoting OB30). But, as Apple’s opening brief repeatedly made clear,

Apple is advancing the exact same field of endeavor it articulated all

along: “‘camera system[s] that may be controlled by human gesture

input.’” E.g., OB26 (quoting Appx106); see also OB32. Indeed, the

section of the opening brief Gesture Technology relies on explicitly

equates “using human gestures to control computers” with that original

field. OB30.

     Gesture Technology does not even attempt to identify any

substantive difference in those phrases. See RB15-16. That is because


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there is none. When Apple refers to a “camera system,” it is talking

about a system including cameras and a computer. The ’924 patent

claims such a device. See Appx57 26:54-65 (claiming a handheld device

containing a computer and cameras). And Mann uses the phrase

“camera system” to describe an identical device including cameras and a

computer. Appx773; Appx8. Both here and in its earlier briefing Apple

is likewise using “camera system” to describe systems that couple

cameras and a computer, as described consistently throughout the ’924

patent. See Appx57 26:54-65. Gesture Technology’s assertion that

Apple is raising a new argument when it mentions gestural control of

“computers” ignores this context. Apple is advancing the same field of

endeavor it did from the start: “portable camera systems that may be

controlled by human gesture input.”

     Gesture Technology also complains that Apple’s appeal newly

identifies additional portions of the intrinsic record that support its

position, on top of the citations Apple included in its briefing to the

Board. See RB16. But simply expanding an existing argument by

adding additional citations to the intrinsic record is not a “new

argument.” See Seabed Geosolutions (US) Inc. v. Magseis FF LLC, 8


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F.4th 1285, 1289 (Fed. Cir. 2021) (“The doctrine of waiver does not

preclude a party from supporting its original claim construction with

new citations to intrinsic evidence of record.”); Interactive Gift Express,

Inc. v. Compuserve Inc., 256 F.3d 1323, 1347 (Fed. Cir. 2001) (similar);

see also Yee v. City of Escondido, 503 U.S. 519, 534 (1992) (“[P]arties are

not limited [on appeal] to the precise arguments they made below.”).

     And, in any case, Apple’s original citations, standing alone, were

enough to carry Apple’s burden. Those citations, including the patent’s

description of the claimed embodiment, clearly describe both camera

systems and human gesture input. OB33-34; e.g., Appx57 25:50-63

(describing a device that “replace[s] the keyboard of a conventional

computer” with cameras that capture images of “[o]ne[’]s fingers”). This

supports describing the field of endeavor as “camera system[s] that may

be controlled by human gesture input.”

     To the extent any aspect of Apple’s field of endeavor argument is

deemed forfeited, it would still be appropriate for this Court to consider

the point on appeal and remand for further consideration by the Board.

The Court has exercised its discretion to consider new arguments raised

in response to positions adopted sua sponte by the prior tribunal. See,


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e.g., Univ. of S. Fla. Rsch. Found., Inc. v. Fujifilm Med. Sys. U.S.A.,

Inc., 19 F.4th 1315, 1324 (Fed. Cir. 2021) (considering appellate

arguments made in response to district court’s sua sponte analysis). As

explained in connection with Apple’s APA argument, see OB42-45,

Gesture Technology did not raise any of the points made by the Board

in rejecting Apple’s proposed Field of Endeavor. Rather, the Board in

its Final Written Decision adopted its own field of endeavor based on

arguments raised by neither party. See, infra __ (rebutting Gesture

Technology’s argument that the Board adopted a field proposed by

Apple). Thus, Apple had no occasion to respond to the Board’s field, or

the Board’s arguments, until now. This Court should exercise its

discretion to consider those points.

      B.    The narrow field of endeavor adopted by the Board is
            not supported by substantial evidence.

      While Apple’s proposed field of endeavor is supported by the

evidence, the Board’s is not. As Apple explained in its opening brief, the

Board committed a legal error by ignoring the patent’s full disclosure

and limiting “[t]he field of endeavor ... to the specific point of novelty,

the narrowest possible conception of the field, or the particular focus

within a given field.” Unwired Planet, 841 F.3d at 1001.

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     The problem, as Apple explained (at OB34-36), is that the Board

focused narrowly on the specific camera-based sensing technique and

ignored the patent’s underlying focus on using human gesture to control

computers. That broader focus was particularly relevant here because

the patent is not describing camera-based sensing in isolation. Rather,

it is describing (and claiming) ways of adding camera-based sensing to

enhance existing, non-image-based methods of gestural control. OB34-

35; see e.g., Appx57 25:54-62 (replacing non-camera-based gestural

controls, such as “an ordinary stylus” or the “keyboard of a conventional

computer,” with the camera-based sensing technique). When the Board

limited the field of endeavor to references that already use camera-

based gesture controls, it ended up excluding the existing contexts and

hardware that the specification—and even the patent’s examiner—

treated as prior art. See OB35-36.

     Gesture Technology makes little attempt to engage with Apple’s

discussion of the patent. Its primary argument, again, is to insist that

the Board’s field of endeavor is sufficiently broad under this Court’s

precedent because it does not literally limit analogous art to references

that anticipate the claim. See RB18 (arguing that the Board did not


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limit the scope of prior art to references that include both camera-based

sensing and a “handheld computing device” and “the specific

arrangement of cameras.”). But as Apple explained above, see supra

§ I.A, the principle from Unwired Planet is not so narrow.

     Moreover, as a practical matter, the Board’s narrow field of

endeavor is requiring petitioners to put forth anticipatory art. This is

evident from the claims, which are generally separated into two parts:

(1) the claimed physical device, and (2) the camera-based sensing

technique required by the Board’s field of endeavor.

1. A handheld device comprising:
      a housing;

      a computer within the housing;                         A handheld
                                                             device with
      a first camera oriented to view a user of              two
      the handheld device and having a first                 cameras,
      camera output; and                                     one facing
                                                             the user
      a second camera oriented to view an                    and one
      object other than the user of the device               facing away
      and having a second camera output,
      wherein the first and second cameras
      include non-overlapping fields of view,
      and wherein the computer is adapted to              Controlled by
      perform a control function of the                   camera-based
      handheld device based on at least one of            sensing
      the first camera output and the second
      camera output.

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Appx57 26:54-65 (annotations added). Under the Board’s definition of

the field, a reference that describes the physical components of the

handheld device, like Mann, qualifies as prior art only if it also uses

camera-based control. But, at that point, the reference would meet all

claim limitations and anticipate. Whether you conceptualize this as

limiting the field of endeavor to “the specific point of novelty” or frame it

as adopting “the narrowest possible conception of the field, or the

particular focus within a given field,” Unwired Planet, 841 F.3d at 1001,

it conflicts with this Court’s precedent.

     Gesture Technology suggests that the Board’s narrowed field is

nonetheless correct because “the teachings in touch-based sensing [like

Mann] are [not] relevant to the camera-based problems identified in the

’924 Patent.” RB18 (citing Unwired Planet, 841 F.3d at 1001). But this

argument fails at the outset because it invokes an entirely separate test

for analogous art—“reasonably pertinent to the particular problem”

facing the inventor—on which neither Apple nor the Board relied. See

Unwired Planet, 841 F.3d at 1000-01 (describing reasonable pertinence

test). As this Court recently reiterated in Netflix, the field of endeavor




                                     18
test, “[u]nlike the reasonable-pertinence test, … does not look to the

problem that the patent purports to address.” Netflix, 80 F.4th at 1359.

     In any case, the specification makes clear that Gesture Technology

is wrong about the relevance of touch-based teachings to the ’924

inventor. As Apple explained, the patent repeatedly treats touch-based

input devices as prior art and describes replacing the touch-based

gestural controls with camera-based gestural controls. 1 See OB35-37.

By adopting a field of endeavor that excludes references on which the

patent explicitly purports to build, the Board has failed to consider the

patent’s full disclosure. See Netflix, 80 F.4th at 1360 (recognizing that

the specification’s disclosure of AVI files as prior art may indicate that

the field of endeavor encompasses AVI file format art, and remanding

for further consideration); Wyers v. Master Lock Co., 616 F.3d 1231,

1238 (Fed. Cir. 2010) (noting that when the specification refers to

another invention as prior art, it should not be excluded as relevant

prior art in the absence of more limiting language).


1 Apple’s own obviousness combination follows exactly this path:
                                                               It
combines Mann, a handheld device with two cameras controlled by
touch-based gestures, with Numazaki, a handheld device with one
camera, controlled by camera-based sensing of gestures. See OB14-15.

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     Just as troublingly, the Board’s field of endeavor excludes

references that the examiner (and the applicant) considered to be prior

art—including a camera reference that, like Mann, taught the physical

structure of the claimed device, but did not itself include camera-based

control. See OB36 (citing Appx609-614). This Court has recognized

that a field of endeavor should encompass references that the examiner

and the inventor considered to be prior art during examination. See

Regent Lighting Corp. v. FL Indus., Inc., No. 94-1162, 1995 WL 331122,

at *4 (Fed. Cir. June 2, 1995).

     Gesture Technology does not even attempt to offer any

substantive explanation for why a field of endeavor that excludes

references that the inventor and the examiner both considered to be

prior art could possibly be appropriate. See RB19-22. It does not

discuss the specification’s focus on enhancing existing systems at all,

and its only argument as to the prosecution history is to say that Apple

waived the argument by not raising it to the Board. RB21. But, again,

Apple is simply expanding its existing field of endeavor argument with

additional evidence from the intrinsic record. See supra § I.A. And

Apple had no reason to raise this point before the Board, as neither


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Gesture Technology nor the Board ever suggested that the scope of prior

art should be limited to this narrower field of endeavor. See OB42-45.

In any case, the prosecution history is only further support for what is

already clear from aspects of the specification that Gesture Technology

declines to address: by limiting the field of endeavor to references that

already use camera-based sensing of gesture input, the Board

improperly excluded from the scope of the prior art numerous existing

systems on which the ’924 patent explicitly purports to build. This is

yet another reason why the Board’s narrow field of endeavor is

unsupported by substantial evidence.

      The remainder of Gesture Technology’s argument involves

attempts to distinguish Apple’s cases. None justifies the Board’s

narrow field.

      Start with Bigio, which Apple cited for the proposition that prior

art should not be limited to a “specific field” if “structural similarities”

or other factors would lead a skilled artisan to consider other art. See

OB38. Gesture Technology argues that Bigio stands only for the point

that references may be prior art if they “merely change[] the size or

substitute[] the material” of the claimed device. RB19-20. But this


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Court has cited Bigio’s discussion of shared “function and structure”

without qualification. See Netflix, 80 F.4th at 1359. And this Court has

not limited Bigio to simple mechanical devices, but rather has applied

the principle across varied technological subject matter, including in

cases (like this one) discussing the structure and functionality of

electronic devices. See Apple Inc. v. Samsung Elecs. Co., 816 F.3d 788,

803 (Fed. Cir. 2016) (applying Bigio principle to user interfaces on

touchscreen devices), vacated in part on other grounds, 839 F.3d 1034

(Fed. Cir. 2016).

     Gesture Technology attempts to distinguish Regent Lighting on

the basis that it also involved an erroneous claim construction. RB20.

But the fact that Regent Lighting also included a claim construction

issue has no bearing on this Court’s observation that a patent’s field of

endeavor should encompass art considered analogous during

examination. See 1995 WL 331122, at *4.

     As to Mettke, Gesture Technology does not dispute that the case

requires a field of endeavor to cover the full breadth of a patent’s

disclosure. See RB21; see also OB37-38 (citing In re Mettke, 570 F.3d

1356, 1359 (Fed. Cir. 2009) (holding that the field could not be limited


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to “providing access to the internet,” as recited in the claims, when the

specification also described other forms of communication media)). But

Gesture Technology inexplicably posits that, in this case, that merely

requires the field of endeavor to include “other forms of camera-based

sensing of the input,” while excluding references “without camera-based

sensing of the input.” RB21. The ’924 patent’s specification requires

more. As Apple explained, the specification does not exclusively

describe camera-based sensing of input; rather, it describes using

camera-based sensing to replace other, non-camera-based forms of

gesture-based input, like touchscreens and keyboards. See OB10, 35-

36, 38. Mettke’s focus on encompassing the patent’s full disclosure

demonstrates that the field of endeavor should encompass those non-

camera-based forms of gesture-based input as well.

     C.    Under the correct field of endeavor, Mann is prior art.

     Apple explained—and Gesture Technology does not dispute—that,

if the field of endeavor is correctly recognized as “camera systems that

may be controlled by human gesture input,” Mann qualifies as

analogous art. OB39. Indeed, Gesture Technology acknowledges that

Mann teaches a camera system. RB7. And it recognizes that Mann’s


                                    23
system is controlled by human gesture input, such as swiping a finger

across the face of a wristwatch. RB5; see Appx785-787; Appx695-698.

Thus, to the extent this Court determines that the Board erred, and

that Apple’s proposed field is the correct field, this Court may hold that

Mann is prior art and remand for consideration of Apple’s obviousness

combination; there would be no need for further fact finding as to

whether Mann qualifies as prior art under the correctly stated field of

endeavor.

      Gesture Technology responds by criticizing Apple for arguing that

Gesture Technology “needed to posit a field of endeavor for Mann.”

RB22 (citing OB40). Apple made no such argument. Apple was merely

pointing out that none of Gesture Technology’s arguments to the

Board—such as its point that Mann is intended for inconspicuous

recording—suggest that Mann is not within the field of “camera

systems that may be controlled by human gesture input.” The same is

true of Gesture Technology’s arguments on appeal; none of them

suggest that Mann is not within the field of endeavor as Apple defined

it.




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II.   The Board Violated The APA By Crafting An Entirely New
      Field Of Endeavor Without Giving Apple An Opportunity
      To Respond.

      At the very least, remand is required to remedy procedural

violations under the APA. As Apple explained, the field of endeavor for

the ’924 patent adopted by the Board in its Final Written Decision was

distinct from Apple’s articulation of the field and distinct from any

argument advanced by Gesture Technology. See OB43-45. By adopting

that new definition without “giv[ing] the parties notice and an

opportunity to respond,” the Board violated the process requirements of

the APA. Nike, Inc. v. Adidas AG, 955 F.3d 45, 53 (Fed. Cir. 2020); see

OB45.

      Gesture Technology does not dispute that the APA requires the

Board to provide notice and an opportunity to respond when it adopts

an argument not raised by the parties. See RB24-28 (citing no APA

cases). Nor does Gesture Technology claim that it properly raised the

argument on which the Board relied. According to Gesture Technology,

however, there is no APA violation in this case because the Board did

not adopt an entirely new field of endeavor when it limited prior art to

references that used camera-based sensing, but simply adopted a


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version of the field of endeavor Apple itself offered for the ’924 patent

with respect to Aviv and Amir. RB25.

      This warps Apple’s position. Apple never suggested to the Board

that the ’924 patent’s field could be limited to camera-based sensing. It

consistently claimed that the field included both devices controlled by

“human gesture input” and the narrower category of devices controlled

by “captured image information.” See Appx106; Appx111; Appx142;

Appx154. In arguing otherwise, Gesture Technology is once again

invoking the false premise that different articulations of the field

should be understood as mutually exclusive and contradictory, rather

than as complementary. But there is no basis for that reading in the

case law, see supra § I.A, and Gesture Technology fails to offer any

evidence for such a reading in Apple’s positions before the Board. As

Apple explained, the Board was not acting in response to an argument

raised by the parties, but rather was inventing its own, narrower field

of endeavor, without offering Apple an opportunity to respond. OB44-

45.

      Gesture Technology also argues at length that Apple could have

argued its field of endeavor point to the Board. But, again, Gesture


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Technology fails to identify any argument it made that would have

prompted Apple to make such an argument. See OB41-45 (noting that

Gesture Technology never disputed that the ’924 patent’s field included

human gesture input). And, tellingly, it misstates the argument that

Apple supposedly should have raised. It suggests Apple should have

“argue[d] in reply that both of its proposed fields of endeavor should

apply to Mann.” RB27. But Apple has never taken the position that

Mann is within the field of camera-based sensing and is not doing so

now. The point is not that Mann is within the unduly narrow field the

Board eventually adopted, but rather that there is no basis for limiting

the field of endeavor for the ’924 patent to camera-based sensing of the

input. That articulation of the ’924 patent’s field of endeavor was raised

for the first time in the Board’s Final Written Decision, such that Apple

was never afforded any opportunity to respond. See OB45. Remand is

therefore required.




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                            CONCLUSION

     For at least these reasons, this Court should reverse the Board’s

analogous art finding, vacate the Board’s determination that Apple

failed to establish the obviousness of the challenged claims, and remand

for consideration of Apple’s obviousness grounds.

                                  Respectfully submitted,

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